0004-73-EPIEXX-00433840-175978
                  Case 15-12744-JDW                 Doc 102     Filed 05/06/21       Entered 05/06/21 09:41:08                Desc
                                 UNITED STATES BANKRUPTCY
                                                Page 1 of 2 COURT
                                                    NORTHERN DISTRICT OF MISSISSIPPI
                                                          ABERDEEN DIVISION

In re: MARCEL FRANCHOT RENAULT                                                                          Case No.: 15-12744-JDW
       MARY CATHERINE RENAULT
             Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Locke D. Barkley, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/05/2015 and was converted to chapter 13 on 10/06/2015.
2) The plan was confirmed on 03/30/2016.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 02/08/2021.
6) Number of months from filing or conversion to last payment: 64.
7) Number of months case was pending: 66.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 79,195.27.
10) Amount of unsecured claims discharged without full payment: 26,635.65.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:             $91,441.00
        Less amount refunded to debtor:                         $688.43
 NET RECEIPTS:                                                                  $90,752.57

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $2,030.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                     $5,531.39
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $7,561.39

 Attorney fees paid and disclosed by debtor:                $1,170.00




 Scheduled Creditors:
Creditor                                                        Claim           Claim              Claim         Principal           Interest
Name                                         Class              Scheduled       Asserted           Allowed       Paid                Paid

AMERICAN HOMES 4 RENT PROPERTIESSecured                                 NA             NA               NA              .00                .00
ASCENSION CAPITAL GROUP                      Secured                    NA             NA               NA              .00                .00
CAPITAL ONE                                  Unsecured            2,701.00             NA               NA              .00                .00
CAVALRY SPV 1                                Unsecured                  .01      6,112.98          6,112.98      1,895.02                  .00
CREDIT ONE BANK                              Unsecured            1,080.00             NA               NA              .00                .00
EVANS PETREE PC                              Secured                    NA             NA               NA              .00                .00
FORD MOTOR CREDIT                            Secured              7,481.00       6,101.87          6,101.87      6,101.87              648.65
HART ELECTRIC MEMBERSHIP CORP                Unsecured              514.33         510.70           510.70          158.32                 .00
INTERNAL REVENUE SERVICE                     Priority                   NA       2,685.68          2,685.68      2,685.68                  .00
INTERNAL REVENUE SERVICE                     Secured                    NA             NA               NA              .00                .00
INTERNAL REVENUE SERVICE                     Unsecured                  NA      23,999.00       23,999.00        7,439.69                  .00
JEFFERSON CAPITAL SYSTEMS LLC                Secured             25,194.73      24,576.18       24,576.18       24,576.18            2,684.55
LARRY SPENCER                                Secured                    NA             NA               NA              .00                .00
MARSHALL COUNTY CHANCERY CLERK Secured                                  NA             NA               NA              .00                .00
MARSHALL COUNTY TAX COLLECTOR                Secured                    NA             NA               NA              .00                .00
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In re: MARCEL FRANCHOT RENAULT                                                                          Case No.: 15-12744-JDW
       MARY CATHERINE RENAULT
             Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim           Claim         Principal            Interest
Name                                       Class              Scheduled           Asserted        Allowed       Paid                 Paid

MIDLAND CREDIT MANAGEMENT                  Unsecured             1,468.10          1,439.21       1,439.21          446.16                 .00
MS DEPARTMENT OF REVENUE                   Secured                    NA                NA              NA              .00                .00
PHH MORTGAGE F/K/A OCWEN LOAN SRV
                               Secured                        118,250.32                NA              NA              .00                .00
ROBERTSON ANSCHUTZ & SCHNEID, P.L.
                                 Secured                              NA                NA              NA              .00                .00
SANTANDER CONSUMER USA INC                 Secured              27,448.00         27,584.29     27,584.29               .00                .00
SHAPIRO & MASSEY                           Secured                    NA                NA              NA              .00                .00
US ATTORNEY'S OFFICE                       Secured                    NA                NA              NA              .00                .00
US DEPARTMENT OF EDUCATION                 Secured                    NA                NA              NA              .00                .00
US DEPARTMENT OF EDUCATION                 Unsecured             2,600.00               NA              NA              .00                .00
US DEPARTMENT OF EDUCATION                 Unsecured             9,382.50          9,410.15       9,410.15       2,917.15                  .00
WEINSTEIN AND RILEY PS                     Unsecured               678.65          1,060.79       1,060.79          328.84                 .00
WELLS FARGO BANK NA                        Secured                    NA                NA              NA              .00                .00
WELLS FARGO DEALER SERVICES                Secured              33,559.16         30,108.02     30,108.02       30,108.02            3,201.05
WOLLEMI ACQUISITIONS LLC                   Secured                    NA                NA              NA              .00                .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal            Interest
                                                                                                  Allowed       Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                 .00
     Mortgage Arrearage:                                                                              .00             .00                 .00
     Debt Secured by Vehicle:                                                                   88,370.36       60,786.07            6,534.25
     All Other Secured:                                                                               .00             .00                 .00
 TOTAL SECURED:                                                                                 88,370.36       60,786.07            6,534.25

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00            .00                  .00
     Domestic Support Ongoing:                                                                         .00            .00                  .00
     All Other Priority:                                                                          2,685.68       2,685.68                  .00
 TOTAL PRIORITY:                                                                                  2,685.68       2,685.68                  .00

 GENERAL UNSECURED PAYMENTS:                                                                    42,532.83       13,185.18                  .00

 Disbursements:
        Expenses of Administration:                                                             $7,561.39
        Disbursements to Creditors:                                                            $83,191.18
 TOTAL DISBURSEMENTS:                                                                                                             $90,752.57

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:    04/30/2021                                      By:   /s/Locke D. Barkley
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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